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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


   Civil Action No.

   MARY MICHENZIE,

          Plaintiff,

   v.

   HEARTLAND FINANCIAL USA, INC.,
   JOHN K. SCHMIDT,
   BRUCE K. LEE,
   ROBERT B. ENGEL,
   THOMAS L. FLYNN,
   JENNIFER K. HOPKINS,
   CHRISTOPHER S. HYLEN,
   MARGARET LAZO,
   SUSAN G. MURPHY,
   OPAL G. PERRY,
   MARTIN J. SCHMITZ,
   KATHRYN GRAVES UNGER,
   DUANE E. WHITE,

          Defendants.


                              COMPLAINT AND JURY DEMAND
                       FOR VIOLATIONS OF FEDERAL SECURITIES LAWS




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          Plaintiff, Mary Michenzie (“Plaintiff”), by and through her attorneys, alleges upon

   information and belief, except for those allegations that pertain to her, which are alleged upon

   personal knowledge, as follows:

                                   SUMMARY OF THE ACTION

          1.      Plaintiff brings this stockholder action against Heartland Financial USA, Inc.

   (“Heartland Financial” or the “Company”) and the Company’s Board of Directors (the “Board” or

   the “Individual Defendants,” and collectively with the Company, the “Defendants”), for violations

   of Sections 14(a) and 20(a) of the Securities and Exchange Act of 1934 (the “Exchange Act”) as a

   result of Defendants’ efforts to sell the Company to UMB Financial Corporation (“Parent”),

   through merger vehicle Blue Sky Merger Sub Inc. (“Merger Sub” together with Parent, “UMB”),

   as a result of an unfair process, and to enjoin an upcoming stockholder vote on a proposed all cash

   transaction (the “Proposed Transaction”).

          2.      The terms of the Proposed Transaction were memorialized in an April 29, 2024,

   filing with the Securities and Exchange Commission (“SEC”) on Form 8-K attaching the

   Definitive Agreement and Plan of Merger (the “Merger Agreement”). Under the terms of the

   Merger Agreement, Heartland Financial stockholders will receive a fixed exchange ratio of 0.55

   shares of UMB common stock for each share of Heartland Financial common stock. This per share

   consideration is valued at $45.74 per share based on UMB’s closing price of $83.17 on April 26,

   2024. Following completion of this contemplated transaction, former Heartland Financial

   stockholders are expected to collectively represent approximately 31% of the combined company.

          3.      Thereafter, on June 13, 2024, UMB filed a Form S-4 attaching the Registration

   Statement (the “Registration Statement”) with the SEC in support of the Proposed Transaction.




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          4.      The Proposed Transaction is unfair for a number of reasons. Significantly, it

   appears as though the Board has entered into an agreement which will provide little to no

   consideration to any Company stockholder and will significantly dilute the shares held by Plaintiff

   and other Company stockholders.

          5.      In violation of the Exchange Act, Defendants caused to be filed the materially

   deficient Registration Statement with the SEC in an effort to solicit public stockholders such as

   Plaintiff to vote her Heartland Financial shares in favor of the Proposed Transaction.

          6.      The Registration Statement is materially deficient, deprives Plaintiff of the

   information necessary to make an intelligent, informed and rational decision of whether to vote in

   favor of the Proposed Transaction, and is thus in violation of the Exchange Act. As detailed below,

   the Registration Statement omits and/or misrepresents material information concerning, among

   other things: (a) the sales process and in particular certain conflicts of interest for management;

   (b) the financial projections for Heartland Financial, provided to the Board, the Company’s

   financial advisor Keefe, Bruyette & Woods, Inc. (“KBW”), and UMB’s financial Advisor BofA

   Securities, Inc. (“BofA”); (c) the data and inputs underlying the financial valuation analyses, if

   any, that purport to support the fairness opinion created by KBW, and provided to the Company’s

   Board and UMB; (d) the financial projections for UMB, provided to the Board, KBW, and BofA;

   and (e) the data and inputs underlying the financial valuations analyses, if any, that purport to

   support the fairness opinion created by BofA, and provided to the Company’s Board and UMB.

          7.      Absent judicial intervention, the Proposed Transaction will be consummated,

   resulting in irreparable injury to Plaintiff. This action seeks to enjoin the Proposed Transaction.




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                                                 PARTIES

           8.        Plaintiff is a citizen of Massachusetts and, at all times relevant hereto has been a

   Heartland Financial stockholder.

           9.        Defendant Heartland Financial, a bank holding company, provides commercial,

   small business, and consumer banking services to individuals and businesses in the United States.

   Heartland Financial is incorporated in Delaware and has its principal place of business at 1800

   Larimer Street, Suite 1800, Denver, Colorado 80202. Shares of Heartland Financial common stock

   trade on the Nasdaq Capital Markets under the symbol “HTLF.”

           10.       Defendant John K. Schmidt (“Schmidt”) has been the Chairman of the Company

   Board of Directors at all relevant times.

           11.       Defendant Bruce K. Lee (“Lee”) has been a director of the Company at all relevant

   times. In addition, Defendant Lee serves as the Company’s President and Chief Executive Officer

   (“CEO”).

           12.       Defendant Robert B. Engel (“Engel”) has been a director of the Company at all

   relevant times.

           13.       Defendant Thomas L. Flynn (“Flynn”) has been a director of the Company at all

   relevant times.

           14.       Defendant Jennifer K. Hopkins (“Hopkins”) has been a director of the Company

   at all relevant times.

           15.       Defendant Christopher S. Hylen (“Hylen”) has been a director of the Company

   at all relevant times.

           16.       Defendant Margaret Lazo (“Lazo”) has been a director of the Company at all

   relevant times.




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          17.        Defendant Susan G. Murphy (“Murphy”) has been a director of the Company at all

   relevant times.

          18.        Defendant Opal G. Perry (“Perry”) has been a director of the Company at all

   relevant times.

          19.        Defendant Martin J. Schmitz (“Schmitz”) has been a director of the Company at all

   relevant times.

          20.        Defendant Kathryn Graves Unger (“Unger”) has been a director of the Company at

   all relevant times.

          21.        Defendant Duane E. White (“White”) has been a director of the Company at all

   relevant times.

          22.        Defendants identified in ¶¶ 10 - 21 are collectively referred to as the “Individual

   Defendants.”

          23.        Non-party Parent and Non-party Merger Sub are wholly owned subsidiaries of

   Non-party Guarantor.

                                      JURISDICTION AND VENUE

          24.        This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange

   Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiff alleges

   violations of Sections 14(a) and 20(a) of the Exchange Act. This action is not a collusive one to

   confer jurisdiction on a court of the United States, which it would not otherwise have. The Court

   has supplemental jurisdiction over any claims arising under state law pursuant to 28 U.S.C. § 1367.

          25.        Personal jurisdiction exists over each defendant either because the defendant

   conducts business in or maintains operations in this District or is an individual who is either present

   in this District for jurisdictional purposes or has sufficient minimum contacts with this District as




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   to render the exercise of jurisdiction over defendant by this Court permissible under traditional

   notions of fair play and substantial justice.

          26.     Venue is proper in this District pursuant to 28 U.S.C. § 1391, because each of the

   Individual Defendants, as Company officers or directors, has extensive contacts within this

   District; for example, the Company maintains its Principal Offices in this District.

                                   SUBSTANTIVE ALLEGATIONS

   Company Background

          27.     Defendant Heartland Financial, a bank holding company, provides commercial,

   small business, and consumer banking services to individuals and businesses in the United States.

   The company accepts various deposit products, including checking, demand deposit accounts,

   NOW accounts, savings, money market, and individual retirement; certificates of deposit; and

   other time deposits. It offers loans, including commercial and industrial, commercial real estate,

   agricultural, small business, and real estate mortgage loans; consumer loans comprising motor

   vehicle, home improvement, home equity line of credit, and fixed rate home equity and personal

   lines of credit; and credit cards for commercial, business, and personal use.

          28.     The Company’s most recent financial performance press release, revealing

   financial results from the quarter preceding the announcement of the Proposed Transaction,

   indicated sustained and solid financial performance. For example, in the January 29, 2024, press

   release announcing its Fourth Quarter Results, the Company highlighted such milestones as: Loan

   growth of $196.2 million or 2%; Average customer deposits grew $270.7 million or 2%; Common

   equity ratio increased to 9.27%; Tangible common equity ratio (non-GAAP) improved 80 basis

   points to 6.53%; and Net interest margin, fully tax-equivalent (non-GAAP) improved 34 basis

   points to 3.52%.




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          29.     Speaking on these positive results, CEO Defendant Lee commented on the

   Company’s positive financial results as follows, “2023 was a year of significant progress and

   successful execution of HTLF’s strategic plans. With the completion of the charter consolidation

   initiative in the fourth quarter, we are now able to focus on HTLF 3.0, a set of initiatives that will

   drive improved efficiency, enhance EPS growth, deliver higher return on assets, and more efficient

   use of capital.”

          30.     These positive results are not an anomaly, but rather, are indicative of a trend of

   continued financial success by Heartland Financial. Based upon these positive financial results and

   outlook, the Company is likely to have future success.

          31.     Despite this upward trajectory and continually increasing financial results, the

   Individual Defendants have caused Heartland Financial to enter into the Proposed Transaction

   without providing requisite information to the Company’s stockholders such as Plaintiff.

   The Flawed Sales Process

          32.     As detailed in the Registration Statement, the process deployed by the Individual

   Defendants was flawed and inadequate, was conducted out of the self-interest of the Individual

   Defendants and was designed to effectuate a sale of the Company to UMB.

          33.     Notably, the Registration Statement fails to disclose adequate reasoning as to why

   the Board would agree to a deal in which stockholders’ interests would be diluted, with little to no

   consideration given.

          34.     Moreover, the Registration Statement fails to indicate why the Board agreed to a

   Proposed Transaction that did not include a collar mechanism to ensure that the merger

   consideration remains in a range of reasonableness.




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          35.     The Registration Statement is silent as to the nature of the confidentiality agreement

   entered into between the Company and UMB and whether this agreement differed from any other

   agreement with potentially interested third parties discussed and/or not specifically mentioned by

   the Registration Statement, if so in all specific manners.

          36.     In addition, the Registration Statement fails to adequately disclose any and all

   communications regarding post-transaction employment during the negotiation of the underlying

   transaction.

          37.     It is not surprising, given this background to the overall sales process, that it was

   conducted in an inappropriate and misleading manner.

   The Proposed Transaction

          38.     On April 29, 2024, Heartland Financial and UMB issued a joint press release

   announcing the Proposed Transaction. The press release stated, in relevant part:

          KANSAS CITY, Mo. and DENVER, April 29, 2024 (GLOBE NEWSWIRE) --
          UMB Financial Corporation (Nasdaq: UMBF) and Heartland Financial, USA Inc.
          (Nasdaq: HTLF) announced today that they have entered into a definitive merger
          agreement under which UMB Financial Corporation (UMB) will acquire Heartland
          Financial USA, Inc. (HTLF), in an all-stock transaction valued at approximately
          $2.0 billion.

          Founded in 1981, HTLF is headquartered in Denver and has $19.1 billion in assets,
          $15.9 billion in total deposits and $12 billion in total loans, as of March 31, 2024.
          The combination of companies will create a leading, regional banking powerhouse,
          spanning a 13-state branch footprint, adding California, Minnesota, New Mexico,
          Iowa and Wisconsin to UMB’s existing eight-state footprint, which includes
          Missouri, Illinois, Colorado, Kansas, Oklahoma, Nebraska, Arizona and Texas.

          “This is a historic and exciting milestone for our company,” said UMB Financial
          Corporation Chairman and CEO Mariner Kemper. “While we have maintained an
          outstanding pace of organic growth during the past decade, this compelling
          combination with HTLF marks a truly momentous expansion of all our core
          services in both existing and new markets. This synergy, along with a like-minded
          culture and customer approach, is an ideal fit for our business model, our credit and
          risk profiles, and our associates, customers and communities.”




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        This transaction, the largest in UMB’s 111-year history, will result in UMB having
        $64.5 billion in assets, elevating it to the top 5% of the 616 publicly traded banks
        in the U.S. The transaction will increase UMB’s private wealth management’s
        AUM/AUA by 31% and nearly doubles its retail deposit base. It will also add 107
        branches and 237 ATMs to UMB’s 90 branches and 238 ATMs, dramatically
        expanding the network for both companies’ customers.

        “This acquisition further diversifies our business, adding more scale to our
        consumer and small business capabilities,” Kemper said. “It also significantly
        expands our market share in several existing markets and leverages our commercial
        banking expertise to HTLF customers and prospects in our newly acquired
        markets.”

        Under the terms of the merger agreement, which were approved by the Boards of
        Directors of each company, HTLF stockholders will receive a fixed exchange ratio
        of 0.55 shares of UMB common stock for each share of HTLF common stock. This
        per share consideration is valued at $45.74 per share based on UMB’s closing price
        of $83.17 on April 26, 2024. Following completion of this contemplated
        transaction, former HTLF stockholders are expected to collectively represent
        approximately 31% of the combined company. At the closing of the transaction,
        five members of the HTLF Board of Directors will join the UMB Board, which will
        be expanded to 16 members.

        “HTLF’s merger with UMB represents our continued focus on ensuring we deliver
        the best products, services and expertise to our customers,” said Bruce K. Lee,
        HTLF President and CEO. “This is an excellent match for HTLF, and we’re truly
        excited for what this means for our employees, customers, stockholders and
        communities.”

        Within its 11-state footprint, HTLF does business as: Minnesota Bank & Trust,
        Wisconsin Bank & Trust, Dubuque Bank & Trust, Illinois Bank & Trust, Bank of
        Blue Valley, Citywide Banks, Premier Valley Bank, Arizona Bank & Trust, New
        Mexico Bank & Trust and First Bank & Trust.

        UMB is deeply invested in the communities in which it does business, providing
        support through products, services, and investments as well as corporate and
        associate giving. UMB is committed to being a strong financial steward and will
        share more information in the near future about how it will provide this support
        throughout its newly expanded footprint.

        HTLF has 1,900 associates and UMB has 3,600. Until the transaction closes, the
        companies will continue to operate independently.

        The transaction is subject to customary closing conditions, including regulatory
        approvals and approval by UMB shareholders and HTLF stockholders, and is
        expected to close in the first quarter of 2025.



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   Potential Conflicts of Interest

            39.       The breakdown of the benefits of the deal indicates that Heartland Financial

   insiders are the primary beneficiaries of the Proposed Transaction, not the Company’s public

   stockholders such as Plaintiff. The Board and the Company’s executive officers are conflicted

   because they will have secured unique benefits for themselves from the Proposed Transaction not

   available to Plaintiff as a public stockholder of Heartland Financial.

            40.       For example, Company insiders currently own company restricted stock units

   (“RSUs”) and performance stock units (“PSUs”), all of which will be subject to accelerated vesting

   upon the consummation of the Proposed Transaction, and converted into the Merger Consideration

   not shared with public Company stockholders such as Plaintiff upon the consummation of the

   Proposed Transaction as follows:

        Named Executive Officers                          HTLF RSUs              HTLF PSUs               HTLF Options
        Bruce K. Lee                                     $1,136,455              $2,369,613                       —
        Kevin L. Thompson                                $ 170,601               $        0              $        0
        Jay L. Kim                                       $ 271,922               $ 451,840               $        0
        David A. Prince                                  $ 286,369               $ 587,010               $        0
        Kevin G. Quinn                                   $ 317,571               $ 607,582               $        0

            41.       In addition, employment agreements with certain Heartland Financial executives

   entitle such executives to severance packages should their employment be terminated under certain

   circumstances. These ‘golden parachute’ packages are significant and will grant each director or

   officer entitled to them millions of dollars, compensation not shared by Plaintiff as follows:

   Named Executive Officers           Cash(1)     Equity(2)      Pension / NQDC(3)   Perquisites/Benefits(4)      Total
   Bruce K. Lee                    $4,636,507   $3,506,068       $             0     $           397,838       $8,540,413
   Kevin L. Thompson               $1,800,000   $ 170,601        $             0     $           251,893       $2,222,494
   Jay L. Kim                      $1,197,775   $ 723,762        $         4,932                 158,711       $2,085,180
   David A. Prince                 $1,260,766   $ 873,379        $        15,119                 180,855       $2,330,119
   Kevin G. Quinn                  $1,439,891   $ 925,153        $             0     $           207,094       $2,572,138
   Bryan R. McKeag(5)              $       —    $       —        $            —      $                —        $       —




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          42.      The Registration Statement also fails to adequately disclose the totality of the

   communications regarding post-transaction employment during the negotiation of the underlying

   transaction. Communications regarding post-transaction employment during the negotiation of the

   underlying transaction must be disclosed to stockholders.

          43.      This information is necessary for Plaintiff to understand potential conflicts of

   interest of management and the Board, as that information provides illumination concerning

   motivations that would prevent fiduciaries from acting solely in the best interests of the Company’s

   stockholders.

          44.      Thus, while the Proposed Transaction is not in the best interests of Heartland

   Financial, Plaintiff or Company stockholders, it will produce lucrative benefits for the Company’s

   officers and directors.

   The Materially Misleading and/or Incomplete Registration Statement

          45.      The Heartland Financial Board caused to be filed with the SEC a materially

   misleading and incomplete Registration Statement that, in violation the Exchange Act, failed to

   provide Plaintiff in her capacity as a Company stockholder with material information and/or

   provides materially misleading information critical to the total mix of information available to

   Plaintiff concerning the financial and procedural fairness of the Proposed Transaction.

          Omissions and/or Material Misrepresentations Concerning the Sales Process leading up

          to the Proposed Transaction

          46.      The Registration Statement fails to disclose material information concerning the

   process conducted by the Company and the events leading up to the Proposed Transaction. In

   particular, the Registration Statement fails to disclose:




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                  a. Adequate reasoning as to why the Board would agree to a deal in which

                      stockholders’ interests would be diluted, with little to no consideration given;

                  b. indicate why the Board agreed to a Proposed Transaction that did not include a

                      collar mechanism to ensure that the merger consideration remains in a range of

                      reasonableness;

                  c. Whether the confidentiality agreements entered into by the Company with

                      UMB differed from any other unnamed confidentiality agreement entered into

                      between the Company and potentially interested third parties (if any), and if so,

                      in all specific manners; and

                  d. Any and all communications regarding post-transaction employment during the

                      negotiation of the underlying transaction.

          47.     This information is necessary for stockholders to understand potential conflicts of

   interest of management and the Board, as that information provides illumination concerning

   motivations that would prevent fiduciaries from acting solely in the best interests of Plaintiff and

   Company stockholders.

          Omissions and/or Material Misrepresentations Concerning Heartland Financial and

          UMB’s Financial Projections

          48.     The Registration Statement fails to provide material information concerning

   financial projections for Heartland Financial provided to the Board, KBW, and BofA and relied

   upon by KBW in their discussions with the Company regarding the Proposed Transaction. The

   Registration Statement also fails to provide material information concerning financial projections

   for UMB provided to the Board, KBW, and BofA and relied upon by BofA in its discussion with

   UMB regarding the Proposed Transaction.




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          49.     Notably, the Registration Statement reveals that as part of its analysis, KBW

   reviewed, “publicly available consensus “street estimates” of HTLF, as well as assumed long-term

   HTLF growth rates provided to KBW by HTLF management, all of which information was

   discussed with KBW by such management and used and relied upon by KBW at the direction of

   HTLF management and with the consent of the HTLF board of directors.”

          50.     The Registration Statement further revealed that KBW also reviewed, “publicly

   available consensus “street estimates” of UMB, as well as assumed long-term UMB growth rates

   provided to KBW by UMB management, all of which information was discussed with KBW by

   such management and used and relied upon by KBW based on such discussions, at the direction

   of HTLF management and with the consent of the HTLF board of directors.”

          51.     Moreover, the Registration Statement reveals that as a part of its analysis, BofA

   reviewed, “certain publicly available financial forecasts relating to HTLF, referred to in this

   [Registration Statement] as the ‘street estimates used by UMB for HTLF;’” as well as, “certain

   publicly available financial forecasts relating to UMB, referred to in this [Registration Statement]

   as the ‘street estimates used by UMB for UMB’.”

          52.     The Registration Statement should have, but fails to provide, certain information in

   the projections that Heartland Financial management and UMB Management may have provided

   to the Board, KBW, and BofA. Courts have uniformly stated that “projections … are probably

   among the most highly-prized disclosures by investors. Investors can come up with their own

   estimates of discount rates or [] market multiples. What they cannot hope to do is replicate

   management’s inside view of the company’s prospects.” In re Netsmart Techs., Inc. S’holders

   Litig., 924 A.2d 171, 201-203 (Del. Ch. 2007).




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          53.     With regard to the Consensus “Street Estimates” used by HTLF, the Registration

   Statement fails to disclose material line items:

                  a. Regarding the Street Estimates used by HTLF for UMB, disclose:

                           i. Total Assets, including the inputs, metrics, and assumptions used to

                              determine the same;

                          ii. Net Income, including the inputs, metrics, and assumptions used to

                              determine the same; and

                         iii. Earnings Per Share, including the inputs, metrics, and assumptions used

                              to determine the same.

                  b. Regarding the Street Estimates used by HTLF for HTLF, disclose

                           i. Total Assets, including the inputs, metrics, and assumptions used to

                              determine the same;

                          ii. Net Income, including the inputs, metrics, and assumptions used to

                              determine the same; and

                         iii. Earnings Per Share, including the inputs, metrics, and assumptions used

                              to determine the same.

          54.     With regard to the Consensus “Street Estimates” used by UMB, the Registration

   Statement fails to disclose material line items:

                  a. Regarding the Street Estimates used by UMB for UMB, disclose:

                           i. Total Assets, including the inputs, metrics, and assumptions used to

                              determine the same;

                          ii. Net Income, including the inputs, metrics, and assumptions used to

                              determine the same; and




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                         iii. Earnings Per Share, including the inputs, metrics, and assumptions used

                              to determine the same.

                  b. Regarding the Street Estimates used by UMB for HTLF, disclose

                          i. Total Assets, including the inputs, metrics, and assumptions used to

                              determine the same;

                          ii. Net Income, including the inputs, metrics, and assumptions used to

                              determine the same; and

                         iii. Earnings Per Share, including the inputs, metrics, and assumptions used

                              to determine the same.

          55.     The Registration Statement fails to provide financials projections prepared by

   Company Management for both the Company and UMB, and to the extent that they are available,

   said projections should be disclosed.

          56.     This information is necessary to provide Plaintiff, in her capacity as a Company

   stockholder, with a complete and accurate picture of the sales process and its fairness. Without

   this information, Plaintiff is not fully informed as to Defendants’ actions, including those that may

   have been taken in bad faith, and cannot fairly assess the process.

          57.     Without accurate projection data for Heartland Financial and UMB being presented

   in the Registration Statement, Plaintiff is unable to properly evaluate the Company’s true worth,

   the accuracy of the exchange ratio, or make an informed decision whether to vote in favor of the

   Proposed Transaction. As such, the Board has violated the Exchange Act by failing to include

   such information in the Registration Statement.




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          Omissions and/or Material Misrepresentations Concerning any Financial Analyses by

          KBW

          58.     In the Registration Statement, KBW describes its fairness opinion and the various

   valuation analyses performed to render such opinion. However, the descriptions fail to include

   necessary underlying data, support for conclusions, or the existence of, or basis for, underlying

   assumptions. Without this information, one cannot replicate the analyses, confirm the valuations,

   or evaluate the fairness opinions:

          59.     With respect to the Selected Companies Analysis for both Heartland Financial and

   UMB, the Registration Statement fails to disclose the following:

                  a. Regarding the HTLF Selected Companies Analysis, disclose:

                          i. The underlying inputs, metrics, and assumptions used to determine the

                              MRQ Core Return on Average Assets 25th percentile, Median, Average,

                              and 75th Percentile for the Selected Companies;

                         ii. The underlying inputs, metrics, and assumptions used to determine the

                              MRQ Core Return on Average Tangible Common Equity 25th

                              percentile, Median, Average, and 75th Percentile for the Selected

                              Companies;

                         iii. The underlying inputs, metrics, and assumptions used to determine the

                              MRQ Net Interest Margin 25th percentile, Median, Average, and 75th

                              Percentile for the Selected Companies;

                         iv. The underlying inputs, metrics, and assumptions used to determine the

                              MRQ Fee Income/ Revenue Ratio 25th percentile, Median, Average, and

                              75th Percentile for the Selected Companies;




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                     v. The underlying inputs, metrics, and assumptions used to determine the

                        MRQ Noninterest Expense/ Average Assets 25th percentile, Median,

                        Average, and 75th Percentile for the Selected Companies;

                    vi. The underlying inputs, metrics, and assumptions used to determine the

                        MRQ Efficiency Ratio 25th percentile, Median, Average, and 75th

                        Percentile for the Selected Companies;

                   vii. The underlying inputs, metrics, and assumptions used to determine the

                        Tangible Common Equity/ Tangible Assets 25th percentile, Median,

                        Average, and 75th Percentile for the Selected Companies;

                   viii. The underlying inputs, metrics, and assumptions used to determine the

                        Total Capital Ratio 25th percentile, Median, Average, and 75th Percentile

                        for the Selected Companies;

                    ix. The underlying inputs, metrics, and assumptions used to determine the

                        Loans HFI/ Deposits 25th percentile, Median, Average, and 75th

                        Percentile for the Selected Companies;

                     x. The underlying inputs, metrics, and assumptions used to determine the

                        Loan Loss Reserve/ Loans 25th percentile, Median, Average, and 75th

                        Percentile for the Selected Companies;

                    xi. The underlying inputs, metrics, and assumptions used to determine the

                        Nonperforming Assets/ Loans + OREO 25th percentile, Median,

                        Average, and 75th Percentile for the Selected Companies;




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                   xii. The underlying inputs, metrics, and assumptions used to determine the

                        MRQ Net Charge-offs/ Average Loans 25th percentile, Median,

                        Average, and 75th Percentile for the Selected Companies;

                   xiii. The underlying inputs, metrics, and assumptions used to determine the

                        One-Year Stock Price Change 25th percentile, Median, Average, and

                        75th Percentile for the Selected Companies;

                   xiv. The underlying inputs, metrics, and assumptions used to determine the

                        Year-to-Date Stock Price Change 25th percentile, Median, Average, and

                        75th Percentile for the Selected Companies;

                    xv. The underlying inputs, metrics, and assumptions used to determine the

                        Price / Tangible Book Value per Share 25th percentile, Median,

                        Average, and 75th Percentile for the Selected Companies;

                   xvi. The underlying inputs, metrics, and assumptions used to determine the

                        Price/ 2024 EPS Estimate 25th percentile, Median, Average, and 75th

                        Percentile for the Selected Companies;

                  xvii. The underlying inputs, metrics, and assumptions used to determine the

                        Price/ 2025 EPS Estimate 25th percentile, Median, Average, and 75th

                        Percentile for the Selected Companies;

                  xviii. The underlying inputs, metrics, and assumptions used to determine the

                        Dividend Yield 25th percentile, Median, Average, and 75th Percentile for

                        the Selected Companies; and




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                    xix. The underlying inputs, metrics, and assumptions used to determine the

                         MRQ Dividend Payout Ratio 25th percentile, Median, Average, and 75th

                         Percentile for the Selected Companies.

               b. Regarding the UMB Financial Selected Companies Analysis, disclose:

                      i. The underlying inputs, metrics, and assumptions used to determine the

                         MRQ Core Return on Average Assets 25th percentile, Median, Average,

                         and 75th Percentile for the Selected Companies;

                     ii. The underlying inputs, metrics, and assumptions used to determine the

                         MRQ Core Return on Average Tangible Common Equity 25th

                         percentile, Median, Average, and 75th Percentile for the Selected

                         Companies;

                     iii. The underlying inputs, metrics, and assumptions used to determine the

                         MRQ Net Interest Margin 25th percentile, Median, Average, and 75th

                         Percentile for the Selected Companies;

                     iv. The underlying inputs, metrics, and assumptions used to determine the

                         MRQ Fee Income/ Revenue Ratio 25th percentile, Median, Average, and

                         75th Percentile for the Selected Companies;

                     v. The underlying inputs, metrics, and assumptions used to determine the

                         MRQ Noninterest Expense/ Average Assets 25th percentile, Median,

                         Average, and 75th Percentile for the Selected Companies;

                     vi. The underlying inputs, metrics, and assumptions used to determine the

                         MRQ Efficiency Ratio 25th percentile, Median, Average, and 75th

                         Percentile for the Selected Companies;




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                   vii. The underlying inputs, metrics, and assumptions used to determine the

                        Tangible Common Equity/ Tangible Assets 25th percentile, Median,

                        Average, and 75th Percentile for the Selected Companies;

                   viii. The underlying inputs, metrics, and assumptions used to determine the

                        Total Capital Ratio 25th percentile, Median, Average, and 75th Percentile

                        for the Selected Companies;

                    ix. The underlying inputs, metrics, and assumptions used to determine the

                        Loans HFI/ Deposits 25th percentile, Median, Average, and 75th

                        Percentile for the Selected Companies;

                     x. The underlying inputs, metrics, and assumptions used to determine the

                        Loan Loss Reserve/ Loans 25th percentile, Median, Average, and 75th

                        Percentile for the Selected Companies;

                    xi. The underlying inputs, metrics, and assumptions used to determine the

                        Nonperforming Assets/ Loans + OREO 25th percentile, Median,

                        Average, and 75th Percentile for the Selected Companies;

                   xii. The underlying inputs, metrics, and assumptions used to determine the

                        MRQ Net Charge-offs/ Average Loans 25th percentile, Median,

                        Average, and 75th Percentile for the Selected Companies;

                   xiii. The underlying inputs, metrics, and assumptions used to determine the

                        One-Year Stock Price Change 25th percentile, Median, Average, and

                        75th Percentile for the Selected Companies;




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                        xiv. The underlying inputs, metrics, and assumptions used to determine the

                                Year-to-Date Stock Price Change 25th percentile, Median, Average, and

                                75th Percentile for the Selected Companies;

                        xv. The underlying inputs, metrics, and assumptions used to determine the

                                Price / Tangible Book Value per Share 25th percentile, Median,

                                Average, and 75th Percentile for the Selected Companies;

                        xvi. The underlying inputs, metrics, and assumptions used to determine the

                                Price/ 2024 EPS Estimate 25th percentile, Median, Average, and 75th

                                Percentile for the Selected Companies;

                       xvii. The underlying inputs, metrics, and assumptions used to determine the

                                Price/ 2025 EPS Estimate 25th percentile, Median, Average, and 75th

                                Percentile for the Selected Companies;

                      xviii. The underlying inputs, metrics, and assumptions used to determine the

                                Dividend Yield 25th percentile, Median, Average, and 75th Percentile for

                                the Selected Companies; and

                        xix. The underlying inputs, metrics, and assumptions used to determine the

                                MRQ Dividend Payout Ratio 25th percentile, Median, Average, and 75th

                                Percentile for the Selected Companies.

          60.     With respect to the Selected Transaction Analysis, the Registration Statement fails

   to disclose the following:

                  a. The specific date on which each selected transaction was consummated;

                  b. The aggregate value of each selected transaction;




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                  c. The underlying inputs, metrics, and assumptions used to determine the Price /

                      Tangible Book Value per Share 25th percentile, Median, Average, and 75th

                      Percentile for each of the Transactions analyzed including UMB and Heartland

                      Financial;

                  d. The underlying inputs, metrics, and assumptions used to determine the Pay-to-

                      Trade Ration 25th percentile, Median, Average, and 75th Percentile for each of

                      the Transactions analyzed including UMB and Heartland Financial;

                  e. The underlying inputs, metrics, and assumptions used to determine the Price /

                      LTM EPS 25th percentile, Median, Average, and 75th Percentile for each of the

                      Transactions analyzed including UMB and Heartland Financial;

                  f. The underlying inputs, metrics, and assumptions used to determine the Price /

                      Forward EPS 25th percentile, Median, Average, and 75th Percentile for each of

                      the Transactions analyzed including UMB and Heartland Financial;

                  g. The underlying inputs, metrics, and assumptions used to determine the Core

                      Deposit Premium 25th percentile, Median, Average, and 75th Percentile for each

                      of the Transactions analyzed including UMB and Heartland Financial; and

                  h. The underlying inputs, metrics, and assumptions used to determine the One-

                      Day Market Premium 25th percentile, Median, Average, and 75th Percentile for

                      each of the Transactions analyzed including UMB and Heartland Financial.

          61.     With respect to the Relative Contribution Analysis, the Registration Statement fails

   to disclose the following:

                  a. The underlying metrics used to determine UMB’s percentage of Total Pro

                      Forma Ownership;




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               b. The underlying metrics used to determine HTLF’s percentage of Total Pro

                  Forma Ownership;

               c. The underlying metrics used to determine UMB’s Pre-Deal Market

                  Capitalization;

               d. The underlying metrics used to determine HTLF’s Pre-Deal Market

                  Capitalization;

               e. The underlying metrics used to determine UMB’s percentage of Total Assets;

               f. The underlying metrics used to determine HTLF’s percentage of Total Assets;

               g. The underlying metrics used to determine UMB’s percentage of Total Gross

                  Loans Held for Investment;

               h. The underlying metrics used to determine HTLF’s percentage of Total Gross

                  Loans Held for Investment;

               i. The underlying metrics used to determine UMB’s percentage of Total Deposits;

               j. The underlying metrics used to determine HTLF’s percentage of Total

                  Deposits;

               k. The underlying metrics used to determine UMB’s percentage of Total Tangible

                  Common Equity;

               l. The underlying metrics used to determine HTLF’s percentage of Total Tangible

                  Common Equity;

               m. The underlying metrics used to determine UMB’s percentage of Total

                  Adjustable Tangible Common Equity (December 31, 2023 FMV Marks);

               n. The underlying metrics used to determine HTLF’s percentage of Total

                  Adjustable Tangible Common Equity (December 31, 2023 FMV Marks);




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                  o. The underlying metrics used to determine UMB’s percentage of Total 2024

                      Estimated Net Income;

                  p. The underlying metrics used to determine HTLF’s percentage of Total 2024

                      Estimated Net Income;

                  q. The underlying metrics used to determine UMB’s percentage of Total 2025

                      Estimated Net Income; and

                  r. The underlying metrics used to determine HTLF’s percentage of Total 2025

                      Estimated Net Income.

          62.     With respect to the Financial Impact Analysis, the Registration Statement fails to

   disclose the following:

                  a. The underlying inputs, metrics, and assumptions used to determine that the

                      merger could be accretive to each of UMB’s estimated 2026 EPS and dilutive

                      to UMB’s estimated tangible book value per share at closing assumed as of

                      March 31, 2025; and

                  b. The underlying inputs, metrics, and assumptions used to determine that each of

                      UMB’s tangible common equity to tangible assets ratio, Tier 1 Leverage Ratio,

                      Common Equity Tier 1 (CET1) Ratio, Tier 1 Capital Ratio and Total Risk-based

                      Capital Ratio at closing assumed as of March 31, 2025, could be lower.

          63.     With respect to the Dividend Discount Model Analysis, the Registration Statement

   fails to disclose the following:

                  a. Regarding HTLF Dividend Discount Model Analysis, disclose:

                             i. The underlying inputs, metrics, and assumptions used to determine the

                                Discount rates ranging from 12.0% to 14.0% utilized; and




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                         ii. The underlying inputs, metrics, and assumptions used to determine the

                             multiples range of 7.5x to 11.5x utilized.

                  b. Regarding UMB Dividend Discount Model Analysis, disclose:

                          i. The underlying inputs, metrics, and assumptions used to determine the

                             Discount rates ranging from 11.50% to 13.50% utilized; and

                         ii. The underlying inputs, metrics, and assumptions used to determine the

                             multiples range of 9.0x to 13.0x utilized.

                  c. Regarding Illustrative Pro Forma Combined Dividend Discount Model

                      Analysis, disclose:

                          i. The underlying inputs, metrics, and assumptions used to determine the

                             Discount rates ranging from 11.00% to 13.00% utilized; and

                         ii. The underlying inputs, metrics, and assumptions used to determine the

                             multiples range of 9.0x to 13.0x utilized.

          64.     These disclosures are critical for Plaintiff to be able to make an informed decision

   on whether to vote in favor of the Proposed Transaction.

          65.     Without the omitted information identified above, Plaintiff is missing critical

   information necessary to evaluate whether the proposed consideration truly maximizes her value

   and serves her interest as a stockholder. Moreover, without the key financial information and

   related disclosures, Plaintiff cannot gauge the reliability of the Board’s determination that the

   Proposed Transaction is in her best interests as a public Heartland Financial stockholder. As such,

   the Board has violated the Exchange Act by failing to include such information in the Registration

   Statement.




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          Omissions and/or Material Misrepresentations Concerning any Financial Analyses by

          BofA

          66.     In the Registration Statement, BofA describes its fairness opinion and the various

   valuation analyses performed to render such opinion. However, the descriptions fail to include

   necessary underlying data, support for conclusions, or the existence of, or basis for, underlying

   assumptions. Without this information, one cannot replicate the analyses, confirm the valuations,

   or evaluate the fairness opinions:

          67.     With respect to the UMB Financial Analyses, the Registration Statement fails to

   disclose the following:

                  a. Regarding the UMB Selected Publicly Traded Companies Analysis, disclose:

                             i. The underlying inputs, metrics, and assumptions analyzed for each of

                                the UMB selected publicly traded companies;

                         ii. The underlying inputs, metrics, and assumptions used to determine the

                                EPS multiples of 8.1x to 15.8x observed for the UMB selected publicly

                                traded companies;

                         iii. The underlying inputs, metrics, and assumptions used to determine the

                                tangible book value per share (“TBVPS”) multiples of 1.15x to 2.57x

                                observed for the UMB selected publicly traded companies;

                         iv. The underlying inputs, metrics, and assumptions used to determine the

                                2024 EPS multiples of 9.5x to 11.5x utilized;

                          v. The underlying inputs, metrics, and assumptions used to determine the

                                2025 EPS multiples of 9.0x to 11.0x utilized; and




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                         vi. The underlying inputs, metrics, and assumptions used to determine the

                                TBVPS multiples of 1.15x to 1.41x utilized.

                  b. Regarding the UMB Dividend Discount Analysis, disclose:

                             i. The underlying inputs, metrics, and assumptions used to determine the

                                terminal forward multiples of 9.5x to 11.5x utilized; and

                         ii. The underlying inputs, metrics, and assumptions used to determine the

                                discount rates ranging from 9.6% to 11.6% utilized.

          68.     With respect to the HTLF Financial Analyses, the Registration Statement fails to

   disclose the following:

                  a. Regarding the HTLF Selected Publicly Traded Companies Analysis, disclose:

                             i. The underlying inputs, metrics, and assumptions analyzed for each of

                                the HTLF selected publicly traded companies;

                         ii. The underlying inputs, metrics, and assumptions used to determine the

                                2024 Estimated EPS multiples of 9.8x to 22.5x observed for the HTLF

                                selected publicly traded companies;

                        iii. The underlying inputs, metrics, and assumptions used to determine the

                                2025 Estimated EPS multiples of 8.7x to 15.9x observed for the HTLF

                                selected publicly traded companies;

                         iv. The underlying inputs, metrics, and assumptions used to determine the

                                TBVPS multiples of 0.80x to 2.06x observed for the HTLF selected

                                publicly traded companies;

                         v. The underlying inputs, metrics, and assumptions used to determine the

                                2024 EPS multiples of 7.5x to 11.5x utilized;




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                     vi. The underlying inputs, metrics, and assumptions used to determine the

                         2025 EPS multiples of 7.0x to 10.5x utilized; and

                    vii. The underlying inputs, metrics, and assumptions used to determine the

                         TBVPS multiples of 1.41x to 1.72x utilized.

               b. Regarding the HTLF Selected Precedent Transactions Analysis, disclose:

                      i. The specific date on which each selected transaction was consummated;

                     ii. The aggregate value of each selected transaction;

                     iii. The underlying inputs, metrics, and assumptions used to determine the

                         TBVPS multiples range of 0.44x to 3.06x for the target companies’ or

                         the selected transactions;

                     iv. The underlying inputs, metrics, and assumptions used to determine the

                         One-Year Forward EPS multiples range of 7.9x to 21.3x for the target

                         companies’ or the selected transactions;

                      v. The underlying inputs, metrics, and assumptions used to determine the

                         TBVPS multiples range of 1.35x to 1.65x utilized; and

                     vi. The underlying inputs, metrics, and assumptions used to determine the

                         One-Year Forward EPS multiples range of 11.0x to 13.4x utilized.

               c. Regarding the HTLF Dividend Discount Analysis, disclose:

                      i. The underlying inputs, metrics, and assumptions used to determine the

                         terminal forward multiples of 7.5x to 11.5x utilized; and

                     ii. The underlying inputs, metrics, and assumptions used to determine the

                         discount rates ranging from 9.7% to 11.7% utilized.




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          69.     These disclosures are critical for Plaintiff to be able to make an informed decision

   on whether to vote in favor of the Proposed Transaction.

          70.     Without the omitted information identified above, Plaintiff is missing critical

   information necessary to evaluate whether the proposed consideration truly maximizes her value

   and serves her interest as a stockholder. Moreover, without the key financial information and

   related disclosures, Plaintiff cannot gauge the reliability of the Board’s determination that the

   Proposed Transaction is in her best interests as a public Heartland Financial stockholder. As such,

   the Board has violated the Exchange Act by failing to include such information in the Registration

   Statement.

                                             FIRST COUNT

                           Violations of Section 14(a) of the Exchange Act

                                        (Against All Defendants)

          71.     Plaintiff repeats all previous allegations as if set forth in full herein.

          72.     Defendants have disseminated the Registration Statement with the intention of

   soliciting stockholders, including Plaintiff, to vote in favor of the Proposed Transaction.

          73.     Section 14(a) of the Exchange Act requires full and fair disclosure in connection

   with the Proposed Transaction. Specifically, Section 14(a) provides that:

          It shall be unlawful for any person, by the use of the mails or by any means or

          instrumentality of interstate commerce or of any facility of a national securities

          exchange or otherwise, in contravention of such rules and regulations as the [SEC]

          may prescribe as necessary or appropriate in the public interest or for the protection

          of investors, to solicit or to permit the use of her name to solicit any proxy or




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          consent or authorization in respect of any security (other than an exempted security)

          registered pursuant to section 78l of this title.

          74.     As such, SEC Rule 14a-9, 17 C.F.R. 240.14a-9, states the following:

          No solicitation subject to this regulation shall be made by means of any proxy

          statement, form of proxy, notice of meeting or other communication, written or

          oral, containing any statement which, at the time and in the light of the

          circumstances under which it is made, is false or misleading with respect to any

          material fact, or which omits to state any material fact necessary in order to make

          the statements therein not false or misleading or necessary to correct any statement

          in any earlier communication with respect to the solicitation of a proxy for the same

          meeting or subject matter which has become false or misleading.

          75.     The Registration Statement was prepared in violation of Section 14(a) because it is

   materially misleading in numerous respects and omits material facts, including those set forth

   above. Moreover, in the exercise of reasonable care, Defendants knew or should have known that

   the Registration Statement is materially misleading and omits material facts that are necessary to

   render them non-misleading.

          76.     The Individual Defendants had actual knowledge or should have known of the

   misrepresentations and omissions of material facts set forth herein.

          77.     The Individual Defendants were at least negligent in filing a Registration Statement

   that was materially misleading and/or omitted material facts necessary to make the Registration

   Statement not misleading.

          78.     The misrepresentations and omissions in the Registration Statement are material to

   Plaintiff, and Plaintiff will be deprived of her entitlement to decide whether to vote her shares in




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   favor of the Proposed Transaction on the basis of complete information if such misrepresentations

   and omissions are not corrected prior to the stockholder vote regarding the Proposed Transaction.

                                              SECOND COUNT

                           Violations of Section 20(a) of the Exchange Act

                                  (Against all Individual Defendants)

          79.     Plaintiff repeats all previous allegations as if set forth in full herein.

          80.     The Individual Defendants were privy to non-public information concerning the

   Company and its business and operations via access to internal corporate documents, conversations

   and connections with other corporate officers and employees, attendance at management and

   Board meetings and committees thereof and via reports and other information provided to them in

   connection therewith. Because of their possession of such information, the Individual Defendants

   knew or should have known that the Registration Statement was materially misleading to Plaintiff

   in her capacity as a Company stockholder.

          81.     The Individual Defendants were involved in drafting, producing, reviewing and/or

   disseminating the materially false and misleading statements complained of herein. The Individual

   Defendants were aware or should have been aware that materially false and misleading statements

   were being issued by the Company in the Registration Statement and nevertheless approved,

   ratified and/or failed to correct those statements, in violation of federal securities laws. The

   Individual Defendants were able to, and did, control the contents of the Registration Statement.

   The Individual Defendants were provided with copies of, reviewed and approved, and/or signed

   the Registration Statement before its issuance and had the ability or opportunity to prevent its

   issuance or to cause it to be corrected.




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          82.     The Individual Defendants also were able to, and did, directly or indirectly, control

   the conduct of Heartland Financial’s business, the information contained in its filings with the

   SEC, and its public statements. Because of their positions and access to material non-public

   information available to them but not the public, the Individual Defendants knew or should have

   known that the misrepresentations specified herein had not been properly disclosed to and were

   being concealed from Plaintiff and Company, and that the Registration Statement was misleading.

   As a result, the Individual Defendants are responsible for the accuracy of the Registration

   Statement and are therefore responsible and liable for the misrepresentations contained herein.

          83.     The Individual Defendants acted as controlling persons of Heartland Financial

   within the meaning of Section 20(a) of the Exchange Act. By reason of their position with the

   Company, the Individual Defendants had the power and authority to cause Heartland Financial to

   engage in the wrongful conduct complained of herein. The Individual Defendants controlled

   Heartland Financial and all of its employees. As alleged above, Heartland Financial is a primary

   violator of Section 14 of the Exchange Act and SEC Rule 14a-9. By reason of their conduct, the

   Individual Defendants are liable pursuant to section 20(a) of the Exchange Act.

          WHEREFORE, Plaintiff demands injunctive relief, in her favor and against the

   Defendants, as follows:

          A.      Enjoining the Proposed Transaction;

          B.      In the event Defendants consummate the Proposed Transaction, rescinding it and

          setting it aside or awarding rescissory damages to Plaintiff;

          C.      Directing the Individual Defendants to exercise their fiduciary duties to disseminate

          a Proxy Statement that does not contain any untrue statements of material fact and that

          states all material facts required in it or necessary to make the statements contained therein




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          not misleading;

          D.      Awarding Plaintiff the costs of this action, including reasonable allowance for

          Plaintiff’s attorneys’ and experts’ fees; and

          E.      Granting such other and further relief as this Court may deem just and proper.

                                    DEMAND FOR JURY TRIAL

               Plaintiff hereby demands a jury on all issues which can be heard by a jury.


    Dated: June 21, 2024                                   BRODSKY & SMITH, LLC

                                           By:             /s/ Marc Ackerman
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                                                           Counsel for Plaintiff




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